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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                   8:11CR251

       vs.
                                                                     ORDER
DONALD WILLIAM MILLER, JR.,

                       Defendant.

     The defendant Donald William Miller, Jr. appeared before the court on November 14, 2017
on a Petition for Warrant or Summons for Offender Under Supervision [171]. The defendant
was represented by Assistant Federal Public Defender Kelly M. Steenbock and the United States
was represented by Assistant U.S. Attorney Nancy A. Svoboda. The government moved for
detention. A detention hearing was held on November 14, 2017. The government’s motion for
detention is denied.     Therefore, the defendant will be released on current conditions of
supervision and the Order Setting Conditions of Release [182].
     I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on December 14, 2017, at 9:00 a.m. The defendant must be present in person.
       2.     The defendant is to be released on current conditions of supervision and the Order
Setting Conditions of Release [182].
       Dated this 15th day of November, 2017.

                                                     BY THE COURT:


                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
